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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

ATM SHAFIQUL KHALID, an individual and
on behalf of similarly situated, Xencare

Software, Inc.

Plaintiff(s),

VS.

MICROSOFT CORPORATION, a

Washington corporation, John Doe n

Defendant(s).

 

 

 

COMES NOW the plaintiff, ATM Shafiqul Khalid (“Khalid”), and Xencare Software,

Inc. (“Xencare”) together referred as “Plaintiff” or “Plaintiffs” for a cause of action against

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No, 2:19-cv-00130 RSM

COMPLAINT FOR DAMAGES FOR
ANTITRUST, RACKETEERING,
CLASSACTION

ATM SHAFIQUL KHALID
17446 NE 28" St.
Redmond, WA 98052
(425) 445-7157

 
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Defendant Microsoft Corporation, (“Microsoft”), also along with John Doe | through John Doe

n, together referred as “Defendant(s)”, state and allege as follows:

I. NATURE OF THE ACTION
This action challenges under Section 1 of the Sherman Act for creating restraint of trade with
overbroad employee agreement among Microsoft and its employees.
Defendant(s) employee agreement are a restraint of trade that are per se unlawful under
Section | of the Sherman Act 15 U.S.C. § 1 and an attempted monopoly under Section 2 of
the Sherman Act 15 U.S.C. § 2. Plaintiff seeks to recover damages sustained because of these
violations of Microsoft.
Cause of Action under Federal Racketeering Act under 18 U.S.C. § 1964(c) for Microsoft
violation of 18 U.S.C. § 1962(d) with predicated act of extortion under Hobbs Act 18 U.S.C.
§ 1951.
Cause of Action under Washington Racketeering Act RCW 9A.82.100(4)(d) for violation of
RCW 9A.82.060 with predicated Act under RCW 9A.56.130.
Plaintiff also is looking for class certification because many class members have been
impacted by Defendants’ violations with damages exceeding $5 million with more than 100

class members.

II. JURISDICTION AND VENUE

 

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The Plaintiff, ATM Shafiqul Khalid (“Khalid”) signed an employee agreement with
Defendant Microsoft. Defendant through this employee agreement claimed the right to patent
title invented by Khalid that was not covered by the employee agreement. Patent and patent
good have substantially affected interstate commerce. The court has subject matter
jurisdiction under Section 15 of the Sherman Act, 15 U.S.C. § 15 for violation of Section 1
of the Sherman Act § 1. This Court also has subject matter jurisdiction under 18 U.S.C. §
1964(c).

This Court has subject matter jurisdiction under Class Action Fairness Act of 2005, 28 U.S.C.
Sections 1332(d), 1453, and 1711-1715, because the amount of controversy is more than $5
million, and there are more than 100 employees residing in multiple states who signed
employment agreements with Defendant.

Venue is proper in this jurisdictional district under Section 22 of the Clayton Act, 15 U.S.C.
§§ 22 and/or under 28 U.S.C. § 1391(b)(2),(c). Defendant transacts, or have transacted,

substantial business here.

Il. DEFENDANTS

Defendant Microsoft corporation is a Washington corporation with its principal office of
business in Redmond, Washington.
Some discovery is needed to be conducted to find more Defendant(s) who employed

employees who were subject to Defendant(s)’s patent grabbing scheme. For now, Plaintiff is

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using fictitious name “John Doe | through John Doe nv” to represent them, there might be 1|-

300 of such corporate Defendants.

IV. FACTS

Background

Microsoft Corporation (commonly referred to as Microsoft) is an American multinational
technology company headquartered in Redmond, Washington, that develops, manufactures,
licenses, supports and sells computer software, consumer electronics and personal computers
and services. In 2018, Microsoft reported $110 billion revenue 134,000 employees
worldwide with around 47,000 employees in Washington alone. Its best-known software
products are the Microsoft Windows line of operating systems, Microsoft Office suite, and
Internet Explorer web browser. Its flagship hardware products are the Xbox game consoles
and the Microsoft Surface tablet lineup. It is the world's largest software maker measured by
revenues. It is also one of the world's most valuable companies. Microsoft was founded by
Bill Gates and Paul Allen on April 4, 1975, to develop and sell BASIC interpreters for Altair
8800. It rose to dominate the personal computer operating system market with MS-DOS in
the mid-1980s, followed by Microsoft Windows. Microsoft also conducts a patent licensing

business through Microsoft Technology Licensing, LLC.

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Plaintiff Khalid is a very creative engineer. Before joining Microsoft Plaintiff, he published
14 research papers in journal and conference proceedings. Plaintiff had been named inventor
in 20 patents issued by United States Patent and Trademark Office (“USPTO”), and
European Patent Office (“EPO”). Plaintiff always had his own creative projects in various
areas to exercise his creativity and intellectual capacity. Plaintiff is an expert in the area of
Computer software, Operating Systems, Cloud and virtualization with 20+ years of
experience.

On December16, 2011, Microsoft offered ATM Shafiqul Khalid a job as Senior Program
Manager in Microsoft Bing division. Microsoft recruiter Shannon Carlsen asked Khalid to
sign a Microsoft Corporation Employee Agreement (“Employee Agreement”) [Exhibit A].
Before signing the Employee Agreement, Khalid wanted to attach an Invention Disclosure
list under section 6 of the Microsoft Employee Agreement, but there was not a way to attach
such a list online. The Microsoft employee agreement had a line "If you wish to attach a list
of inventions, per paragraph 6, below, please contact your recruiter”. Khalid contacted
Shannon Carlsen as required by the agreement. [Exhibit B].

Microsoft Employee Agreement section 5 contained, “as to any Invention complying with
5(a)-(c) above that results in any product, service or development with potential commercial
application, MICROSOFT shall be given the right of first refusal to obtain exclusive rights
to the Invention and such product, service or development.” The invention referenced here
was an invention solely owned by employee Khalid and his startup.

Section 6 of this employee agreement contained, “I have attached a list describing all

Inventions belonging to me and made by me prior to my employment with MICROSOFT

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that I wish to have excluded from this Agreement. If no such list is attached, I represent that
there are no such Inventions.”

On December19, 2011, Khalid sent an email to Shannon Carlsen attaching an Invention
disclosure list per instruction from Shannon [Exhibit C]. Khalid signed the Employee
Agreement. Later Shannon Carlsen acknowledged that she had received the invention
disclosure list as attachment. Shannon copied that email to recruiting coordinator Ricardo
Bustamante [Exhibit D]. Khalid was given no further instructions on this invention disclosure
list.

On January9, 2012, Khalid participated in a Microsoft employee orientation program where
Khalid was required to sign a hard copy of the employee agreement using INK. Khalid again
submitted an Invention disclosure list and left a hand-written note on the Employee
Agreement to show there were additional pages.

The invention disclosure list Khalid submitted on December19, 2011, had nine (9) patentable
items with short description of the invention [Exhibit E]. Khalid also marked a few items as
pending patent applications with United States Patent and Trademark Office.

On July15, 2014, the United States Patent and Trademark Office issued US patent 8,782,637
(hereinafter referred to as “mini-cloud patent”) that Khalid listed in the Invention Disclosure
document on December19, 2011.

As part of Microsoft job application Khalid submitted a resume. The resume had an
embedded link on pending patent from its summary section. The list would have shown the

publication of the mini-cloud patent application on December12, 2011.

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After signing the Microsoft employee agreement on December19, 2011, Plaintiff worked for
Microsoft from January9, 2011, until February 2, 2015, at Microsoft offices in Bellevue and

Redmond, Washington. Plaintiff also worked for Microsoft during the years of 1998-2006.

On May 27, 2016, as explained in more details later, Microsoft notified Khalid through its
external counsel that no exclusion list existed, Microsoft got some right to patents Khalid
had listed in the disclosure list, and Khalid need to give Microsoft royalty free license to

clear patent dispute.

Microsoft has 88% market share in desktop operating system. Microsoft has 88% market
share in office productivity suit market such as Microsoft Office suites that often are
delivered as cloud services such as Office365. Microsoft also has significant market share in
Gaming space.

Development of

8,286,219 and 8,782,637 Patent

While in graduate school, during 1996-1997 Plaintiff invented an idea of subscription that
would allow a user to consume software without driving to store to buy it. During 1997,
Plaintiff did some work on subscription in very rudimentary form. Plaintiff continued his
work for years through 2010 when the idea evolved over time and transformed into mini-
cloud subscription that would allow a user to consume computing resources and content on
demand, integrating parts of Plaintiff's subscription idea plaintiff had in 1996. Plaintiff had

one patent application filed in 2001 software subscription and another in 2007 to cover

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content subscription including digital movie. The idea evolved to form cloud computing for
residential users using mini-cloud host and thin terminals. The US Patent office issued a
patent 8,782,637 (“637 patent”) in 2014. Plaintiff had a total of 30 ideas in the form of patent
or in the development stage. To date, in spite of any adverse situation, Plaintiff continued
adding his labor to refine and prosecute patent applications through US patent office coming
from those ideas.

Mini-cloud 637 patent comprises several components: a) thin terminal something like Roku
stick that can stick to any monitor then connect to b) subscription provider in the cloud and
c) connect to a mini-cloud host device to deliver computing resources with specific
integration techniques outlined in the patent. Microsoft Xbox One uses all components of
637 patents or mini-cloud invention. The invention is expected to reduce consumer cloud
subscription cost by device consolidation.

Around 2005, Plaintiff, while working with his friends and partner, made an invention to
protect computer systems from viruses and spyware. Plaintiff filed a patent application in
2005 titled “SAFE AND SECURE PROGRAM EXECUTION FRAMEWORK”. The
application expired in 2006.

On February 16, 2008, after months of efforts to commercialize the subject matter of the
expired patent application on security, after some validation and improvement with “single
system framework”. Plaintiff startup team filed the 2005 patent application with the
improved version titled “SAFE AND SECURE PROGRAM EXECUTION

FRAMEWORK” with application number 12/032,663.

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On October 9, 2012, the US patent office issued Patent 8,286,219 (“the ‘219’ Patent”) for
the application number 12/032,663.

All those years, Khalid recruited a team of engineers to incubate and productize both security
and mini-cloud technologies. Khalid and his team of around 20 people invested more than
30,000 engineering hours over the years with equivalent of at least $3.5 million investment
as value of labor. And Khalid and his counsel recently spent $2 million to clear claims which
one of Microsoft’s partner had made on the 219 and the 637 patent.

Defendant’s mini-cloud patent was developed to host and deliver any digital services through
cheap terminals in a cost-effective way that makes the cloud services affordable to an
ordinary residential user. And the security patent was developed to protect the host like
systems.

Khalid founded Xencare Software, Inc., and owns majority stocks. Xencare delegated certain

rights to Khalid [Exhibit I].

Micro-Data Center Incubation IP Licensing Efforts

By the year 2014, thin devices with a form factor similar to the “mini-cloud thin terminal”
were developed by various companies including Roku, Amazon FireTV stick, etc. Those
devices were so popular that today more than half of US households use one of those devices.
Plaintiff decided to incubate further on ideas using the mini-cloud host component with a

business model called Micro-Data Center that can work as a single device or form a mega

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data center distributed inside a City. Plaintiff was planning to form an IP licensing business
and incubation to further develop ideas.

On or around February 12, 2013, Plaintiff also had a discussion with Microsoft Vice
President VP Amit Mittal on the mini-cloud invention. Amit later told Khalid that he had a
discussion within Microsoft and wouldn’t pursue the idea.

In March 2014, Plaintiff had a meeting with Microsoft Executive Vice President (EVP) Kirill
Tatarinov reporting to Microsoft CEO Satya Nadella. Plaintiff discussed the mini-cloud
invention in details. Kirill advised Khalid to talk to Stephen Elop who was planning to join
Microsoft as part of Microsoft Nokia acquisition. Stephen Elop was designated to head
Microsoft device division that included Xbox One.

On June 30, 2014, Plaintiff sent an email to Stephen Elop, Microsoft EVP reporting to Satya
Nadella, Microsoft CEO. The email included Satya Nadella, Brad Smith, Microsoft General
Counsel, and a few executives. In the email, plaintiff proposed a business model based on
the mini-cloud invention. On July 1, 2014, Stephen Elop declined Khalid’s proposal.

In 2015, after being terminated by Microsoft, Plaintiff put in efforts to incubate and form
business, or license developed technologies, to others. Plaintiff shared his proposal with
Microsoft as well. Plaintiff needed some funds from investors as well.

Plaintiff discussed part of software subscription with Bob Rinne, Khalid’s manager at
Microsoft, around 2000 timeframe. Microsoft declined Plaintiffs idea.

After leaving Microsoft on Feb 2, 2015, Plaintiff was trying to accumulate resources to form

an IP licensing and/or incubation business. Khalid had around 30 inventions in the pipeline

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to protect the micro-data center space to solve consumer problem in a market size of $70
billion/year. Khalid wrote a proposal and shared with Microsoft as well.

Plaintiff planned to give some party easy license to his patent in an attempt to build his patent
portfolio and move on incubation. When parties found that Microsoft had a demand to get
free license to all present and future patent family, this deterred party investors, which made
it impossible for Khalid to financially support his work on his 30 patent portfolio and micro-

data center ideas.

Microsoft Claims Khalid’s Patents in 2015

On February19, 2015, Patrick Evans, Microsoft inhouse patent attorney wrote to Khalid “As
per the Microsoft Corporation Employee Agreement you executed on December 19, 2011,
Section 5 sets forth your obligations to assign intellectual property to Microsoft. Section 6
addresses inventions to be excluded, and no inventions were listed by you for exclusion”
[See Exhibit F]. On the same date Khalid notified Patrick that Khalid had submitted an

exclusion list.

 

On March 3, 2015, Patrick Evan wrote Khalid “...As per the employment agreement,
Microsoft retains an assignment right in the patents. Please let me know if you need anything
more” referring to US patent 8,782,637 and 8,286,219, sending a link to a form
http://www.uspto.gov/forms/pto1595.pdf’. This form is used to transfer patent title and right
from one party to another. In this case, Patrick wanted Khalid to transfer his patent right to
Microsoft.

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On March 13, 2015, Khalid told Patrick Evan that Khalid submitted a copy of his original
2011 invention disclosure list.

On Aprill4, 2015 Khalid requested Patrick to check with the hand-signed (using INK)
employee agreement that Khalid signed on January 9, 2012. Khalid also requested to have a
copy sent to him of the hand signed employee agreement. On April 16, 2015, Khalid re-
requested from Shannon Flynn to have a copy sent to him of the INK signed Employee
document. On April27, 2015, Khalid notified Patrick that Khalid had not received the INK
signed copy of the 2012 Employee Agreement.

On Junel5, 2015, Khalid notified Patrick over Email that Microsoft Xbox One is infringing
on Khalid’s mini-cloud patent US 8,782,637, and he asked Patrick if there was any other way
to resolve the dispute.

On June 22, 2015, Khalid told Patrick over Email that Khalid will give one security patent
to Microsoft if Microsoft pay build out cost for that patent. Khalid also told Patrick that
Khalid will give license to Microsoft for mini-cloud patent if Microsoft is willing to pay
reasonable royalty fee. Patrick declined that offer.

On July 9, 2015, Patrick told Khalid that he Patrick will put together an agreement if Khalid
will agree to give Microsoft royalty free access to all present and future patents related to
Mini-cloud systems in exchange of resolving all disputes. Khalid found this offer to be very
unfair, anti-competitive, and thus Khalid declined this “resolve offer” given by Patrick.

In July, 2015, Patrick also clarified that Microsoft’s claim would extend to mini-cloud patent
family for past, present, and future patents that indirectly claim all the other patents in the

Invention Disclosure documents.

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On August 29, 2015, Khalid told Patrick and Shannon that Microsoft’s claim to inventions
is causing problems for Khalid to refile many patent applications related to the patent family
listed in the Invention Disclosure. Microsoft did not respond to release its claim.

On May 27, 2016, Khalid received a letter (“M&G letter”) from Microsoft outside counsel
Andrew T. Pouzeshi at Merchant & Gold [See Exhibit G]. The letter said, “You also agreed
to provide a list identifying all inventions made by you or belonging to you prior to your
employment with Microsoft. There is no evidence that you provided a list of inventions prior
to either period of employment... your failure to exclude inventions described in the ‘219 and
‘637 patents resulted in a grant of an exclusive, royalty-free, irrevocable, worldwide license
to those inventions to Microsoft.”. Through the external counsel, for the first time in a signed
letter, Microsoft officially denied that Khalid had ever provided a list of inventions made by
him or belonging to him.

Microsoft asserted Citrix Systems, Inc was a Microsoft vendor. Microsoft also said, “It is
Microsoft’s standard practice when entering into contract with vendors that Microsoft owns
all of the intellectual property produced by the vendor and the vendor employees”. Upon
receipt of the M&G letter Khalid demanded Microsoft to send him Vendor Agreement but
Microsoft refused to share with Khalid.

“Microsoft, in the M&G letter, told Plaintiff that until Khalid grant royalty free license to
Microsoft to the 637 and the 219 patent, Khalid can’t tell his investors that Microsoft has no

interest in the patents.

Microsoft Partner Citrix Systems, Inc.,

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Claimed 637 and 219 patents
On September 25, 2011, Citrix Systems, Inc.(“Citrix’’) claimed underlying patent application
resulting in the 219 and the 637 patents and withheld plaintiffs severance money until Khalid
assigned patent application to Citrix.
On October 2, 2015, Khalid filed a suit against Citrix Systems, Inc.(“Citrix”) in King County
Superior Court to clear cloud on title to 219 patent and 637 patent. Citrix is a Microsoft
business partner and vendor. Citrix chose to dispute Khalid’s ownership to the 219 and 637
patents since year 2011 by saying Khalid didn’t disclose his patent work and so Citrix should
have the right to Khalid patent with the employment contract Khalid had signed with Citrix.
Citrix did not prevail on their assertion. Citrix counter sued Khalid and Xencare on May 12,
2016 in federal courts to claim 219 and 637 patents.
During the state court trial, around 2017, Citrix Systems claimed Microsoft was their partner
and Citrix delayed the state court case to do additional discovery relying on the Microsoft
M&G letter. Those delays resulted in increased cost and loss of time to Khalid.
In 2017, Citrix sent a discovery request to Microsoft as part of the state court proceedings.
Microsoft produced the 2011 Microsoft Employee Agreement without the exclusion list
Khalid submitted to Microsoft on December 19, 2011.
During the trial in July of 2018, Citrix chief architect Brad Petersen testified and suggested
that Citrix wanted to protect its partner and suggested that Khalid’s patent could have been
hostile to those partners. Brad also testified that Citrix never sold anti-virus kind of products,
an area 219 patent targeted to solve. Brad also testified that Citrix didn’t sell any thin client

products either. 637 patent included thin terminal similar to thin client.

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During the state court proceedings, around 2017, during communication with Khalid’s
counsel, Citrix counsel said that Citrix has a common interest with Microsoft to ensure that
a patent doesn’t get to patent troll. Citrix also testified that Citrix and Microsoft together held
70% market share in virtual desktop space.

On July 16 through 31, 2018, at the state court trial, Khalid’s experts, John Forbes and
Lorraine Barrick, testified that the value of the software security business and the thin
terminal business based on both the 219 and the 637 patent would have been around $27
million. Citrix showed the Microsoft M&G letter to the jury to undermine the damage.

On August 1, 2018, ina unanimous verdict, 12 King County jurors found that Citrix breached
its agreement, Khalid didn’t breach the same agreement by not assigning 219 patent and 637
patent to Citrix. Subsequently, King County Court Judge entered a $5.8 million judgment
against Citrix that included a $3 million Jury award, and $2.8 million to cover fees and costs.
The Court also entered a declaratory judgment against Citrix that Citrix doesn’t have any

right to either the 219 or the 637 patent. The cost of litigation exceeded $2.8 million.

Market Size of Technology Covered by Patents and Infringement

On or around July 21, 2017, Microsoft CEO Satya Nadella said in their financial reporting,
“Our gaming business now is more than $9 billion and growing profitably — 2017”.
Considering Microsoft is not the only player, the overall market size is expected to total at
least $400 billion in business over 20 years. A nominal 1% royalty would set the infringement

value to $4 billion that Microsoft fraudulently tried to get access to.

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Microsoft Xbox One product infringes on claim 1, 4, and 20 of US patent 8,782,637 which
is a violation of plaintiff's exclusive right protected under 35 USC § 271. The infringement
is a direct using of all of the components in the 637 patent, or Xbox One uses components in
an equivalent way that infringes on the 637 patent. The Microsoft infringement is willful,
and Microsoft used fraud to claim the 637 patent right to avoid liability under infringement

laws.

Offshore Tax Engineering Scheme _to Avoid avoid Taxes

In 2012, one US senate panel report said that from 2009 to 2011, Microsoft shifted $21 billion
offshore, almost half of its U.S. retail sales revenue, saving up to $4.5 billion in taxes on
goods sold in the United States. The report also said the software giant shifts royalty revenue
to units in low-tax nations, such as Singapore and Ireland, avoiding billions of dollars of U.S.
taxes. Those unfair practices eventually impact consumers.

In 2015, the New York Times and Bloomberg made reports based on leaked Panama papers
that corporations had been using intellectual property rights as a vehicle to transfer money to
offshore accounts to avoid income taxes in the form of tax engineering. In such a tax
engineering scheme, corporations would transfer right to intellectual properties to an offshore
entity often without any employee and then make a generous royalty payment to such an
offshore account and enjoy low or no tax. Those leaked reports and public statements showed
that Microsoft and its partner moved billions of dollars offshore.

By 2017, corporations have moved around $2.8 trillion dollars that should have been in the

USA and tax revenue from them could have funded many public projects. If corporations

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develop their intellectual properties through extortion, illegal, unfair and grossly unethical
practices, those tax engineering schemes would be unfair and illegal practices. Also, those
corporations never disclosed to its employees that employees work towards intellectual
properties would be used in such unfair tax engineering practices. With full disclosures,
patriotic employees who are the actual owner of intellectual properties would not assigned
their private right to corporations to associate themselves with such tax engineering scheme
that deprive our nation as a whole and their own families of the tax supported programs and
places of expectation for our tax dollars.

Corporations used intellectual property to increase brand value/trademark and used the
collection of intellectual property to make generous royalty payments to offshore accounts
that held rights to intellectual property in order to receive royalty payments and to deceive

the IRS and the US public.

Microsoft Employee Patent Grabbing Scheme is

Injurious to the Employees Rights

 

Microsoft Agreement section 5 award Microsoft “first right of refusal” to any employee
patent even if the patent is not related to Microsoft business and protected under RCW
49.44.140. That section violates Washington Statute RCW 49.44.140 and similar statutes in
other states.

The “first right of refusal” has value greater than Zero (0) and an employee losses that every
day he remains under the contract. The right is in the form of an option, Microsoft can choose

to exercise that option at Zero(0) exercise price at their own choosing. The option is more

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like a mining right to a piece of land owned by employee where the option has value even if
itis unknown if that land has any mineable materials.

The Microsoft Employee Agreement assigns right to an employee’s future inventions during
his employment at the time he signs the Employee Agreement. The agreement doesn’t set
any scope or boundary to such inventions. Microsoft don't have any inhouse objective
standard, or review process, rather the company applies subjective financially motivated,
anti-competitive practices.

Any right associated with a patent is a right protected by the Fourteenth Amendments of the
United States Constitution. By not defining a clear boundary, Microsoft deprives its
employee of due process of law. Microsoft contaminates employee’s future invention by
creating cloud and uncertainty around the ownership and rights around the title to invention
upon signing employee agreement. Microsoft drives the value of such inventions to Zero(0)
or negative dollar by demanding free license where employee would bear all expenses to
maintain patent family

Microsoft by claiming any of Plaintiffs patent rights, claimed some service plaintiff
rendered for himself and his start-up that plaintiff would never render for any employer
voluntarily. Plaintiff's such service covered thousands of hours of work he added in his
patents in terms of development and prosecution of patents that by no means falls under the
term of Microsoft Employee Agreement.

The Microsoft Employee Agreement, Section 5 and Section 6, are designed to get free labor
from employees and those employees would be working without knowing that Microsoft

would or could claim and benefit from this free labor.

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Microsoft’s use of the exclusion list under Section 6, either destroying the employee’s
submitted list, as in this Khalid’s instant, and perhaps an unknown number of other
employee’s, or refusing to acknowledge its existence, as this situation has shown, is designed
to contaminate an employee’s patent that effectively transfers free labor to Microsoft that the
employee would never render to Microsoft voluntarily.

Once Microsoft successfully contaminates an employee’s patent, as in the instant case, that
employee would need tremendous financial resources to clear their patent right through
court. An ordinary employee can’t afford the time or the legal costs to pursue and challenge
a company on the legal court front, nor should anyone be forced to challenge deception ever,
and though in the face of such deception, an ordinary employee is forced to share his already
given free labor with Microsoft, unwillingly.

Microsoft asked Plaintiff to sign Employment Agreement on December19, 2011. Plaintiff
started getting a salary from Microsoft on January 9, 2012. Microsoft later said the Employee
Agreement was in force from December19, 2011, not from January 9, 2012, therefore the
agreement transferred all inventive services to Microsoft from December 19, 2011. Microsoft
didn’t pay for 3 weeks of services, but claimed inventive service in an attempt to retain free
labor, first right of refusal to employee patent, and assignment right to invention for that 3
weeks window.

Microsoft has a systematic scheme, where Microsoft would maliciously take financial
advantage of its employees, and will engage its multiple employees in employment

opportunities, while conspiring to claim and then profit from an employee’s patent, an act

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that deprives the employee from rights he or she is protected by in both the Thirteenth and
Fourteenth Amendments of the United State’s Constitution.

An ordinary employee can’t afford hundreds of thousands of dollars in costs to protect his
right through litigation, and he or she can’t afford to abandon his patent work because that
would be total destruction of his personal property. Rather, he would find him or herself in
an unknowing and surprising trap of financial and property submittal to Defendant to share
the fruit of his labor that he would never offer free of cost willingly; this equates to
involuntary servitude under Thirteenth Amendments. And Microsoft is violating the
Fourteenth Amendment right by transferring employee patent right without due process of
law. Microsoft doesn’t offer any additional compensation for transferring such patent right.
Microsoft violation is continuing violation. Because of Microsoft violation, Plaintiff was
deprived of enjoyment of his patent right, Plaintiff couldn’t use his labor time and efforts for
his intended purpose that he rendered for himself.

Microsoft conducts a few billion dollars of business with both the federal and local
governments every year.

Defendant(s) require an employee to assign future invention at the beginning of employment.
When the employee makes an invention Defendant(s) require a second assignment from the
employee. Defendant(s) then files the second assignment with the US patent office not
recording the first assignment with USPTO.

On January 30, 2009, in an email to Cnet News in responding to Microsoft v Miki lawsuit,
where Microsoft asserted Miki didn’t disclose his patent to Microsoft before employment,

Miki Mullor said that he had informed Microsoft about his patent in his resume and

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employment agreement. Miki backed his statement, and this shows Microsoft assertion in
M&G letter that Khalid didn’t disclose his inventions is not the first of such statements from
Microsoft that show either irreparable and costly neglect in Microsoft’s applicant/new
employee document bookkeeping, or show a blatant cover-up of a conspiracy to steal
intellectual property and labor time from their employees. .

On January 30, 2009, Miki Mullor further wrote to Cnet, "Microsoft's complaint against me
in Washington is a shameful and a desperate attempt to put pressure on me and my family
from continuing to pursue our legal rights in the federal court in Los Angeles". Miki’s filed
patent infringement lawsuit against Microsoft partner Dell, HP and Toshiba in Federal Court
in Los Angeles.

Microsoft maintained its pressure scheme on Miki Mullor until the end of 2009 when Miki
settled with Microsoft on the patent issue under undisclosed terms. Microsoft, by using its
M&G letter in 2016, tried to achieve a similar result where Microsoft partner Citrix System
tried to use this same Microsoft assertion written in that letter to hurt Khalid’s damages
claims against Citrix and win on an argument that either Microsoft or Citrix owns 219 and
637 patents.

Role of Davis Write Termite

 

Davis Write Termite is the law firm who has business relationship with both Microsoft and
Citrix Systems. Plaintiff offered Citrix to resolve the patent issue with a license term of
$50,000/patent. Erica Wilson from Davis Write, representing Citrix in 2015, didn’t accept

the offer that forced Plaintiff into litigation. Plaintiff and his team were eventually forced to

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accumulate $2.2+ millions in legal fees and cost that ultimately cleared the patent title issue
with Citrix, along with damages.

Davis Write Termite refused to disclose its fee in Khalid v Citrix, the state court case, and it
is expected to be higher than Khalid’s cost, so Davis Write Termite made at least $2 million.
By refusing $50,000/patent license, and pushing into $2+ million litigation, Davis Write was
motivated by either its own financial gain or move forward clients’ employee patent grabbing
scheme. Davis Write Termite didn’t apply proper professional judgment, and wanted to
protect the illegal interest of Microsoft and Citrix to scare off other employees who want to
protect their interest and Davis Write became part of grand patent grabbing scheme by its
client.

Strangely enough, after losing its claim on patents in state court, Citrix asserted that it might
get some right to patent through Microsoft, and Microsoft asserted in another communication
that Microsoft have some right to disputed patent through its agreement with Citrix. Those

make a circular argument.

Class Certification
Thousands of employees signed Employee Agreement with Microsoft where those contracts
transferred valuable employee rights to Microsoft violating local and federal law. Those
employees’ rights had had been injured and they together form a class.
Members in the class would have one or more of the following attributes a) they have signed
employee agreement with Microsoft b) The agreement was a form agreement with an

ambiguous and over broad patent assignment provision that would transfer patent right upon

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signing c) member would sign the employee agreement at a date earlier than their job start

date, however doesn’t receive salary from the signing date d) Member was either told or

understood that they must sign the employee agreement as a condition to their job.

Class members had been either seriously exposed to, or had been damaged by the wrongful

patent grabbing scheme explained earlier. Such scheme injured the class member’s

constitutional rights and other forms of rights provided by local, state and/or common law.

Damages of the class members are more than $5 million, and there are more than 100 class

members who signed Employee Agreements with Microsoft.

Plaintiff Khalid has been personally injured and want to represent the whole class if certified.
Additional Facts

Plaintiff will send a letter to the US attorney general to report the Employee Agreement abuse

by US corporation(s) violating constitutional rights, anti-trust, Racketeering Act, [See

Exhibit H]. This Court can request briefing from other corporations. Incorporating here all

of the facts and allegations from Exhibit H by reference.

Damages

The plaintiffs suffered damages caused and proximately caused by the actions of the

Defendant as set forth below.

V. VIOLATION ALLEGED
(Count I - Violation of Section 1 of Sherman Act)

Plaintiff hereby incorporates paragraphs | through 90.

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Defendant(s) hire employees and require them to sign an employment agreement. The
Employment Agreement tied up together is a few separate agreements a) confidentiality
agreement b) patent assignment agreement of future inventions. Plaintiff had to sign both as
part of the Employment Agreement . This tying is anti-competitive and a restraint of trade
because the assignment of future invention is ambiguous, overbroad, violated local and
federal law.

The patent assignment agreement assigns rights to the employee’s future invention(s) to the
Defendant(s) even if the invention has nothing to do with employer’s business. Microsoft,
through this ambiguous and over broad agreement takes rights of the employee’s invention
if that invention, even if unrelated to their business, becomes commercially valuable.
Defendant(s) are also in the business of patent licensing and use patents to develop products
and transfer money to avoid tax.

Defendant significantly reduced the value of employee patent through its employee
agreement. Patents are basic ingredients of the supply chain of a product. Defendant(s) are
fixing the price of employee patent in its favor through employee agreement.

Defendant(s) are procuring patent at a much cheaper cost. At the same time reduces the
supply of patents in the market place by controlling or contaminating employee patent title.
An employee with an agreement with the Defendant(s) can’t enter the market with his own
invention. Defendant action is anti-competitive.

Defendant(s) claimed plaintiff patent on bad faith. An assertion of rights to intellectual

property that is on bad faith and/or based on fraud is a restraint of trade.

 

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Microsoft and employee form a combination where Microsoft intimidate the employee to
give up a patent right; that is a restraint of trade.
Defendant(s) claimed plaintiff patent on bad faith. An assertion of rights to intellectual
property that is on bad faith and/or based on fraud is a restraint of trade.

(Count II - Violation of Section 2 of Sherman Act)
Plaintiff hereby incorporates paragraphs | through 90.
Defendant Microsoft has a monopoly power by itself and through its partners in multiple
technology areas like Office Productivity Software, Desktop Operating Systems, Cloud
Computing.
Microsoft unlawfully claimed Plaintiff's patent to expand its market share to gain monopoly
power or to maintain monopoly power. A patent also comes with monopoly power on its
own and Microsoft tried to acquire that power embedded in 219 and 637 patent illegally.
Those conducts are attempted monopoly or to maintain monopoly, and either of the two are

a violation of Section 2 of the Sherman Act.

(Count III - Defendant Violated Racketeering Act through Extortion

18 U.S.C. § 1964)

Plaintiff(s) hereby incorporates paragraphs | through 90.
To state a claim under Rico, a plaintiff must allege four elements: (1) conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity. Plaintiff(s) allege them as

follows:
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First, Defendant(s) participated in an enterprise or associate-in-fact enterprise to create
intellectual property, transfer valuable rights and benefits from those intellectual properties
to the enterprise, and then sent royalty and other benefits to the enterprise.

Second, Defendant has offshore operations and is receiving benefit from intellectual
properties Defendant(s) acquired through extortion, fraud, and violating laws. Such
operations have become a Rico enterprise.

Defendant’s offshore operations are helped by some associates like Appleby law firm located
in Hamilton Bermuda or similar sharing knowledge and other logistics that aid and abet
Defendant(s) to move financial assets backed by intellectual property for tax advantages.
Defendants association in those offshoring programs became Rico association-in-fact
enterprise.

Defendant(s) have an IP licensing program as a separate entity that has become Rico
association-in-fact enterprise. That licensing program has a separate corporate structure to
remove liability from Microsoft, and Microsoft set that up for this particular purpose.
Defendant(s) have an IP sharing partnership with partners and vendors receiving benefits
from intellectual properties, those partnerships together have become a Rico association-in-
fact enterprise.

Third, Defendant(s) used thousands of employee agreements over an extended period of time
to acquire intellectual properties from employees, and those activities are ongoing and open-
ended.

Miki Mullor’s statement on January 30, 2009, proves Microsoft tried to get Miki’s patent

right to protect certain Microsoft partners. Another Microsoft partner, Citrix, conducted very

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similar actions where both Microsoft and Citrix claimed benefit from such conducts. Those
incidents form a pattern of conduct.

Fourth, Defendant(s) has employed a specific scheme to acquire intellectual properties
through extortion and fraud through an employee agreement with an illegal and/or unlawful
assignment provision of patent rights.

Microsoft also mislead Plaintiff here in the present case using emails constituting email
fraud. On one email, Microsoft represented that Plaintiff could submit a patent exclusion
list, then Microsoft confirmed receipt of the exclusion list over email, then a few years later,
over email, claimed that patent exclusion list he submitted didn’t exist. This is part of scheme
Microsoft uses to grab employee patent. Citrix conducted a similar pattern by contacting

Khalid over emails that Citrix has rights in Khalid patents that they didn’t actually have.

(Count IV — Cause of Action Under 18 USC § 1595(a))

Plaintiff hereby incorporates paragraphs | through 90.

Defendant employed multiple employee recruiters and attorneys who conspired to or carried
out Microsoft policy by telling Khalid that unless Khalid grants Microsoft royalty-free
license Khalid can’t tell his investors in an attempt to cause fear. Microsoft also contended
Khalid didn’t submit any exclusion list and therefore Microsoft became an owner of Khalid’s
patent.

Microsoft, being a multi-billion-dollar company, calculated that Khalid would coward down

and not wage a legal battle against the giant, Microsoft.

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By doing so, Microsoft created a situation where Plaintiff will continue working on his patent
family, add labor to perfect and prosecute his patents, and Defendant(s) Microsoft will get
free access to those patents.
Plaintiff's free labor, that plaintiff would never offer to Defendant(s) Microsoft voluntarily,
constitute a violation of involuntary servitude under 13" amendments. And Defendant’s
attempts to intimidate Khalid in this situation is considered a violation of attempted violation
of 18 USC § 1589 that violate USC § 1594 which is actionable under USC § 1595(a).
(Count V - Defendant Violated Racketeering ACT

18 U.S.C. § 1964 for Actual or Attempted Forced Labor 18 U.S.C. § 1589)
Plaintiff hereby incorporates paragraphs | through 90.
Microsoft other and its partner formed a Rico enterprise.
Defendant(s) Microsoft created a situation to secure inventive service from an employee
without any payment. Employee labor associated with inventive service can and has been
used be well outside the scope of Employment Agreement. Microsoft kept and keeps enough
ambiguity in the Employment Agreement, this allowed and allows Microsoft to claim free
labor from the Plaintiff, and any inventive employee.
Forced labor and attempted forced labor are violations of 18 U.S.C. § 1589 and predicated
act of Rico violation.
Defendant(s) Microsoft implemented a scheme to secure free labor in multiple instances and
from multiple employees who sign an Employment Agreement with Defendant(s). Those

activities create patterns.

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(Count VI - Microsoft Violated Civil Right Under 42 USC § 1985)

126. Plaintiff hereby incorporates paragraphs | through 90.

127. Defendant(s) Microsoft employed multiple employees, recruiters, and attorneys who

conspired to have Khalid sign an overbroad Employee Agreement, by offering an employee
to submit an invention disclosure, a false pretense, whereby then years later making claims
that Plaintiff(s) Khalid did not submit an invention disclosure, then claiming rights to

Khalid’s patent family.

128. By creating this false pretense of an inventive disclosure and or purporting years later to not

have the inventive disclosure on file, Microsoft created a situation where Plaintiff continued
working on his patent family, add his personal labor to perfect and prosecute his patents, and

defendant Microsoft, in this set up, will get free access to those patents.

129. Plaintiffs free labor, that plaintiff would never offer to Microsoft voluntarily, constitute a

violation of involuntary servitude under 13" amendments. And because defendant Microsoft
employees conspired in an attempt to deprive Khalid of his constitutional right, this gives

rise to a violation of 42 USC § 1985.

130. Microsoft didn’t offer any additional compensation for Khalid’s patent right. Microsoft’s

wrongful assertion deprived Khalid of the enjoyment of his patent right protected by

Fourteenth Amendment.

(Count VII — Violated Interest of Class Members Right)

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Plaintiff hereby incorporates paragraphs | through 90.

All of the employees who have signed an Employee Agreement with Defendant’s, as
described and incorporated here within, are together as a class for the purpose of class action.
Microsoft doesn’t pay wages from the signing date of the Employee Agreement, yet uses
inventing services from the signing date of the Employee Agreement.

Microsoft retains right to any future invention of an employee in the form of first right of
refusal that depletes the value of employee’s future invention(s).

Microsoft’s use of ambiguous provisions in an employee agreement is a violation of the
notice provision of the due process of law afforded as a right under the Fourteenth
Amendment of the United State’s Constitution, violations of just compensation. Microsoft’s
attempt to contaminate employee’s inventions is an attempt to get free labor that the
employee would never render freely to Microsoft, there being is a violation of Involuntary
Servitude under Thirteenth Amendments.

Microsoft’s Employee Agreement(s) of such described, violated the Sherman Act and the
Racketeering Act injuring employees’ rights.

Microsoft inflicted moral injury to the class members by using their intellectual property for
offshore tax engineering scheme and not disclosing that to employees.

Class certification is needed to recover damages sustained by class members.

(Count VIII - Defendant Attempted or Committed Fraud)

139. Plaintiff hereby incorporates paragraphs | through 90.
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First, Microsoft represented to Plaintiff that as an employee he can make a written exclusion
list of his prior inventions and give that list to his recruiter to make such invention excluded
from the work assignment obligation to Microsoft under the Employment Agreement .
Plaintiff submitted an exclusion list to his recruiter as directed to do.

Second, on May 27, 2016, Microsoft said the exclusion list didn’t exist, which makes
Microsoft’s 2011 written representation false. Plaintiff received an acknowledgment from
Microsoft in 2011 that such list was received.

Third, Plaintiff would never have entered into such an employment agreement had Microsoft
told Plaintiff that Microsoft wouldn’t preserve the exclusion list as part of the Employment
Agreement, but would later claim one or any of his exclusion patents on his submitted
exclusion list.

Fourth, if Microsoft doesn’t preserve such exclusion lists, or is making a false statement to
prospective employees, Microsoft should have known such..

Fifth, Microsoft intended that Plaintiff would rely on this written representation.

Sixth, Plaintiff never thought Microsoft would ever say his exclusion list didn’t exist.
Plaintiff was naturally ignorant of Microsoft’s internal false representation.

Seventh, Plaintiff hand signed the 2011 Microsoft Employment Agreement noting the
additional pages that include the exclusion list, already with the Microsoft recruiter. Here
too, Plaintiff relying on Microsoft’s representation.

Eighth, Plaintiff relied on Microsoft’s written representation, with no reason to believe

otherwise.

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148. Ninth, Plaintiff(s) suffered damage because the Plaintiff(s) couldn’t use the patent(s) in the

exclusion list for the intended purposes to develop IP licensing and incubation start-up.

(Count IX — Reserving Right to Add New Claim or Amending Claims)

149. Plaintiff(s) hereby incorporates paragraphs | through 90.
150. Plaintiffs(s) are reserving the right to add new claims and/or to amend any claims in this

complaint as the law permits.

VI. REQUESTED RELIEF

WHEREFORE, plaintiffs pray for relief as follows:

151. Certify this action for Class Action under 28 U.S.C. § 1332(d) so that other employees
affected by the Defendant(s)’s behavior can join this lawsuit and recover damages along with
Plaintiff for the requested relief.

152. Civil remedies under 15 U.S.C. § 15, 18 U.S.C. § 1964(c), RCW 19.86.090 and RCW
9A.82.100(4)(d) including treble damage, cost, and fees.

153. Damages for fraud or attempted fraud in the amount of actual or probable loss.

154. Damages for back pay, front pay, lost benefits, in an amount to be proven at trial.

155. Damages for loss of patents, and damages for loss of profit in businesses in an amount to be
proven at trial. Damages to Startup Company in an amount to be proven at trial.

156. Damages for emotional distress, loss of enjoyment of life, humiliation.

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personal indignity, embarrassment, fear, anxiety, and/or anguish.

Injunctive relief and declaratory judgment in Plaintiffs favor.

Prejudgment interest in an amount to be proven at trial.

Double Damage under RCW 49.52.070 for wage violation including costs and fees.
Compensation for the tax penalty associated with any recovery.

Costs and legal fees pursuant to RCW 59.18, RCW 49.48.030, and RCW 4.84 or other rules
of law and/or equity.

Punitive damage for violation of 42 USC § 1985, and constitutional injury for violation of
the Thirteenth Amendments and Fourteenth Amendments.

Civil penalty under RCW19.86.140.

Cost fee damage and punitive damage under 18 USC § 1595.

Plaintiff is also looking for protection under the whistleblower laws and/or similar laws so
that Defendant(s) can’t harass Plaintiff; Plaintiff has a right to the whistleblowing protections
and other protections available by law when he notifies various multiple agencies to
investigate systematic unlawful violations by Microsoft.

Penalty for inconvenience and discomfort as authorized under Cherberg v. Peoples Nat'l

 

Bank, 564 P. 2d 1137 - Wash: Supreme Court 1977.

 

Whatever further and additional relief the court shall deem just and equitable.

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Vil. DEMAND FOR JURY

Plaintiff(s) hereby demands that this case is tried before SIX or TWELVE jury.

SIGNED and DATED this _28" day of January, 2019.

Plaintiff Pro Se

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